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                      UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Christopher Hawksley                 )
       Plaintiff                     )
                                     )
v.                                   )                Case No.       3:16-cv-00205-RGJ
                                     )
Weltman, Weinberg & Reis Co., L.P.A. )
Assumed name for                     )
Weltman, Weinberg & Reis Co., PSC    )
     Defendant                       )
                                     )

           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
              DEFENDANT WELTMAN, WEINBERG & REIS CO., L.P.A.
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Christopher

Hawksley and Defendant Weltman, Weinberg & Reis Co., L.P.A., assumed name for

Weltman, Weinberg & Reis Co., PSC, hereby jointly request that this Court dismiss with

prejudice Plaintiff’s claims against Defendant in the above-styled action. Except as otherwise

agreed, the parties shall each bear their own costs, expenses, and attorney’s fees.



HAVE SEEN AND APPROVED:

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